          Case 2:21-cv-02550-SHL-atc Document 7 Filed 08/27/21 Page 1 of 1                                    PageID 18
AO 458 (Rev. 01/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                           for the
                                               Western District
                                             __________         of of
                                                         District  Tennessee
                                                                      __________


            SHELBY COUNTY, TENNESSEE                            )
                             Plaintiff                          )
                                v.                              )      Case No.    2:21-cv-02550
 Governor Bill Lee in his official capacity as Governor         )
                            Defendant                           )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiff, Shelby County, Tennessee                                                                              .


Date:         08/27/2021                                                                  s/Nathan A. Bicks
                                                                                           Attorney’s signature

                                                                                      Nathan A. Bicks (#10903)
                                                                                      Printed name and bar number
                                                                                   Burch Porter & Johnson, PLLC
                                                                                      130 North Court Avenue
                                                                                        Memphis, TN 38103

                                                                                                  Address

                                                                                         nbicks@bpjlaw.com
                                                                                             E-mail address

                                                                                           (901) 524-5000
                                                                                           Telephone number

                                                                                           (901) 524-5024
                                                                                                 FAX number
